                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       v.                                             Criminal Action No. 1:21-cr-00119 (CJN)

GARRET MILLER,

               Defendant.


                                             ORDER

        Garret Miller, a January 6 defendant, claims that he is the victim of selective prosecution.

Pointing to the Department of Justice’s charging decisions (or lack thereof) for rioters in Portland,

Oregon, he asks the Court to compel discovery and grant an evidentiary hearing on his claim. See

Motion for Discovery and for an Evidentiary Hearing (“Mot.”), ECF No. 32. But the evidence

Miller points to is not enough. The Court will thus deny his Motion.

        The Executive Branch has “broad discretion” in “enforc[ing] the Nation’s criminal laws.”

United States v. Armstrong, 517 U.S. 456, 465 (1996) (quotation omitted); United States v. Fokker

Servs. B.V., 818 F.3d 733, 741 (D.C. Cir. 2016). But that discretion has its limits. The Fifth

Amendment prohibits the federal government from pursuing criminal charges against a citizen that

amount to a “ ‘practical denial’ of equal protection of law.” Armstrong, 517 U.S. at 465 (quoting

Yick Wo v. Hopkins, 118 U.S. 356, 373 (1886)). A claim of “selective prosecution” guards against

this illegality. Id.

        Miller must make two showings, each by “clear evidence,” to establish his claim of

selective prosecution. See Att’y Gen. of U.S. v. Irish People, Inc., 684 F.2d 928, 932 (D.C. Cir.

1982). He must demonstrate both that the prosecution had a “discriminatory effect” and that it

arose from “discriminatory intent.” Armstrong, 517 U.S. at 465. Producing evidence of such


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discriminatory effect and discriminatory intent often requires discovery. See Jonathan J. Marshall,

Selective Civil Rights Enforcement and Religious Liberty, 72 Stan. L. Rev. 1421, 1448 (2020).

       To get discovery on his claim, Miller must offer “some evidence” tending to show both a

discriminatory effect and discriminatory intent. United States v. Bass, 536 U.S. 862, 863 (2002).

If the standard sounds familiar to the one for proving a selective-prosecution claim, it should. The

Supreme Court has adopted this “correspondingly rigorous” standard to guard against costly

resource allocation and the disclosure of sensitive information. Armstrong, 517 U.S. at 468;

United States v. Khanu, 664 F. Supp. 2d 28, 31 (D.D.C. 2009). The some-evidence standard “is

only slightly lower” than the clear-evidence standard. United States v. Hare, 820 F.3d 93, 99 (4th

Cir. 2016) (quoting United States v. Venable, 666 F.3d 893, 900 (4th Cir. 2012)) (quotation marks

omitted); United States v. Sellers, 906 F.3d 848, 852 (9th Cir. 2018) (noting that the some-evidence

“standard was intentionally hewn closely to the claim’s merits requirements”); United States v.

Alameh, 341 F.3d 167, 173 (2d Cir. 2003) (“The standard for discovery is correspondingly

rigorous, . . . but of course not identical to the standard applied to the merits.”); United States v.

Lewis, 517 F.3d 20, 25 (1st Cir. 2008) (“The evidentiary threshold that a defendant must cross in

order to obtain discovery in aid of a selective prosecution claim is somewhat below ‘clear

evidence,’ but it is nonetheless fairly high.”).

       Miller submits that he “has become familiar with how the Department of Justice has

handled the bulk of the 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 111 charges arising out of the

Portland riots, which took place during the summer of 2020,” Mot. at 5, and suggests that his

treatment on identical charges, see Superseding Indictment, ECF No. 30, at 2–3, is discriminatory.

In support of his position, he points to Portland cases that were either dismissed, are headed

towards dismissal, or have received “extremely favorable plea agreements.” Id. at 8–16. Yet




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despite his efforts, Miller has produced inadequate evidence of either discriminatory effect or

discriminatory intent to obtain discovery here.

       As to discriminatory effect, a defendant like Miller who seeks discovery must adduce

“some evidence that similarly situated defendants . . . could have been prosecuted, but were not.”

Armstrong, 517 U.S. at 469; Branch Ministries v. Rossotti, 211 F.3d 137, 144 (D.C. Cir. 2000).

Whether others qualify as similarly situated hinges on whether the “circumstances present no

distinguishable legitimate prosecutorial factors that might justify making different prosecutorial

decisions with respect” to the comparator. Rossotti, 211 F.3d at 145 (quoting Irish People, Inc.,

684 F.2d at 946). But there are obvious differences between those, like Miller, who stormed the

Capitol on January 6, 2021, and those who rioted in the streets of Portland in the summer of 2020.

The Portland rioters’ conduct, while obviously serious, did not target a proceeding prescribed by

the Constitution and established to ensure a peaceful transition of power. Nor did the Portland

rioters, unlike those who assailed America’s Capitol in 2021, make it past the buildings’ outer

defenses. And Miller has failed to point to any Portland case that is similar to this one and in

which the government made a substantially different prosecutorial decision. The circumstances

between the riots in Portland and the uprising in the Nation’s capital differ in kind and degree, and

the Portland cases (and the government’s prosecutorial decisions) are therefore not sufficiently

similar to this case to support Miller’s request for discovery.

       As for improper prosecutorial motive, Miller must present a credible showing that the

Government chose to prosecute “at least in part because of, not merely in spite of,” his protected

characteristic. Wayte v. United States, 470 U.S. 598, 610 (1985); United States v. Alcaraz-

Arellano, 441 F.3d 1252, 1264 (10th Cir. 2006) (“[T]he discriminatory-purpose element requires

a showing that discriminatory intent was a ‘motivating factor in the decision’ to enforce the




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criminal law against the defendant,” which can be “shown by either direct or circumstantial

evidence.”). Yet Miller points to no evidence of discriminatory intent other than “personal

conclusions based on anecdotal evidence.” Armstrong, 517 U.S. at 470. He contends that the

government treated the Portland rioters favorably once President Biden assumed office. Mot. at

19. But speculation is not enough. That the government allegedly dismissed cases against some

(but not all) Portland rioters, or offered others (but not all) favorable plea deals, does not without

more show the federal government is pursuing its claims against Miller and others like him because

of a difference in politics. The government also has pointed to substantial differences in the

evidence available to it with respect to the two groups. The January 6 attack happened in broad

daylight, and much of what occurred was captured on video (whether from the Capitol, law

enforcement officers, or the rioters themselves). In Portland, much of the illegal activity occurred

at night and there is substantially less video evidence of what unfolded during the assault.

       Accordingly, it is

       ORDERED that the Motion for Discovery and for an Evidentiary Hearing, ECF No. 32,

is DENIED.


DATE: December 21, 2021
                                                              CARL J. NICHOLS
                                                              United States District Judge




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